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                                 CERTIFICATE OF SERVICE

        I, William F. Taylor, Jr., hereby certify that February 7, 2012, I caused a true and correct
copy of the foregoing Fifth Monthly Application of McCarter & English LLP, As The Official
Committee of Retirees, For Allowance Of Interim Compensation And For Interim
Reimbursement Of All Actual And Necessary Expenses Incurred For The Period January 1, 2012
through January 31, 2012 to be served upon the attached service list by U.S. Mail, postage pre-
paid, or in the manner so indicated.


                                       /s/ William F. Taylor, Jr.
                                       William F. Taylor, Jr. (DE Bar I.D. #2936)

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